 Case 20-13219-djb        Doc 66-1    Filed 04/10/25 Entered 04/10/25 15:30:24             Desc
                                     Exhibit Page 1 of 2



                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
IN RE: Cheryl Anne Hodolitz
       Debtor,                                     BANKRUPTCY CASE NUMBER
                                                   20-13219-mdc
Nationstar Mortgage LLC
      Movant.                                      CHAPTER 13
v.
                                                  11 U.S.C. § 362
Cheryl Anne Hodolitz
     Debtor/Respondent,

Kenneth E. West, Office of the Chapter 13
Standing Trustee, Trustee
      Additional Respondent.


                           NATIONSTAR MORTGAGE LLC'S
                         NOTICE OF DEFAULT OF STIPULATION

RE: PROPERTY KNOWN AS 3631 Richmond Street, Philadelphia, PA 19134

TO:
Cheryl Anne Hodolitz
3631 Richmond Street
Philadelphia, PA 19134

Brad J. Sadek, Esquire, Sadek Law Offices LLC
1500 JFK Boulevard
Ste 220
Philadelphia, PA 19102
Sent via electronic notification: brad@sadeklaw.com

       You are hereby notified that the Debtor is in default of the terms of the Stipulation
entered into by the parties and approved by the Court. The Debtor has failed to make the
following payments and late charges:
Regular payments of $886.14 from February 1, 2024 through March 1, 2024 which total
$1,772.28;
Attorney fee of $100.00 for this Notice of Default
Less Debtor’s Suspense ($37.08)

TOTAL DEFAULT AS OF MARCH 18, 2024 IS $1,835.20
  Case 20-13219-djb       Doc 66-1    Filed 04/10/25 Entered 04/10/25 15:30:24              Desc
                                     Exhibit Page 2 of 2



If the default continues to the following month, the Debtor shall include funds to cure that
month’s default as well. Pursuant to the terms of the Stipulation, the full cure of the default must
be via certified funds, money orders or cashier’s check, with the loan number clearly written
thereon and made payable to Nationstar Mortgage LLC. Please remit all payments to: PO Box
619094, Dallas, Texas 75261-9741.


The default must be cured within 15 days from the date below or Movant shall file a
Certification of Default with the Court, and request the Court to enter an Order granting Movant
relief from the Automatic Stay.


                                              Respectfully submitted,




Dated: March 19, 2024                         By: /s/ Christopher A. DeNardo
                                              Christopher A. DeNardo 78447
                                              Heather Riloff - 309906
                                              Leslie J. Rase, 58365
                                              LOGS Legal Group LLP
                                              985 Old Eagle School Road, Suite 514
                                              Wayne, PA 19087
                                              (610) 278-6800
                                              logsecf@logs.com

File #: 20-065514
